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                                            1 JEDEDIAH WAKEFIELD (CSB No. 178058)
                                              jwakefield@fenwick.com
                                            2 FENWICK & WEST LLP
                                              555 California Street, 12th Floor
                                            3 San Francisco, CA 94104
                                              Telephone: 415.875.2300
                                            4 Facsimile: 415.281.1350
                                            5 ANNASARA G. PURCELL (CSB No. 295512)
                                              apurcell@fenwick.com
                                            6 FENWICK & WEST LLP
                                              1191 Second Avenue, 10th Floor
                                            7 Seattle, WA 98101
                                              Telephone: 206.389.4510
                                            8 Facsimile: 206.389.451
                                            9 ARMEN NERCESSIAN (CSB No. 284906)
                                              anercessian@fenwick.com
                                           10 FENWICK & WEST LLP
                                              801 California Street
                                           11 Mountain View, CA 94041
                                              Telephone: 650.988.8500
                                           12 Facsimile: 650.938.5200
F ENWICK & W EST LLP




                                           13 Attorneys for Defendants
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                                              AMAZON, INC. and
                                           14 AMAZON SERVICES, LLC
                                           15                        UNITED STATES DISTRICT COURT
                                           16                       CENTRAL DISTRICT OF CALIFORNIA
                                           17                      (WESTERN DIVISION – LOS ANGELES)
                                           18 ERIC WEBER and BRYAN REES,                 Case No.: 2:17-cv-08868 GW(Ex)
                                              individually and on behalf of all others
                                           19 similarly situated,                        REPLY BRIEF IN SUPPORT OF
                                                                                         AMAZON’S MOTION TO
                                           20                  Plaintiffs,               COMPEL ARBITRATION AND
                                                                                         DISMISS CLAIMS AS TO
                                           21         v.                                 PLAINTIFF ERIC WEBER
                                           22 AMAZON, INC. and                           Date:      April 2, 2018
                                                                                         Time:      8:30 AM
                                           23 AMAZON SERVICES, LLC,                      Crtm:      9D
                                                         Defendant.                      Judge:     Hon. George H. Wu
                                           24                                            Trial Date:NONE SET
                                           25
                                           26
                                           27
                                           28   REPLY ISO AMAZON’S MOT. TO
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                                            1 I.      INTRODUCTION
                                            2         In its motion to compel arbitration, Amazon established that Plaintiff Eric
                                            3 Weber—by making literally hundreds of purchases on Amazon, and by signing up
                                            4 to Amazon Prime—repeatedly agreed to arbitrate any dispute relating to his use of
                                            5 Amazon and its services. Amazon also showed that Mr. Weber’s claims, which
                                            6 concern allegedly unauthorized charges to a payment method that Mr. Weber kept
                                            7 on file with his Amazon account, relate to his use of Amazon and thus fall within
                                            8 the scope of the arbitration agreement in the Amazon Conditions of Use (the
                                            9 “COUs”). Because his only alleged injury is that Amazon charged the credit card
                                           10 he placed on his Amazon account when he used that account to sign up for Audible,
                                           11 his claims unmistakably “relate to” his use of the Amazon service, and therefore
                                           12 fall within his agreement to arbitrate.
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                                           13         Rather than address Amazon’s argument, however, Mr. Weber in his
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                                           14 opposition again seeks to quibble with the evidence. He ignores this Court’s
                                           15 previous ruling in the related case, McKee v. Audible, Inc., No. CV 17-1941-
                                           16 GW(EX), 2017 WL 4685039, at *11 n.7 (C.D. Cal. July 17, 2017), holding that
                                           17 placing orders through Amazon’s check-out flow creates assent to the COUs and
                                           18 the arbitration agreement. Instead, Mr. Weber focuses much of his opposition on
                                           19 attempting to manufacture a factual dispute over whether he signed up for Amazon
                                           20 Prime, which he claims not to recall. While Amazon’s records (and Mr. Weber’s
                                           21 own admission that he was charged for Prime service) undermines this claim,
                                           22 Plaintiff’s arguments about Amazon Prime are a distraction: Mr. Weber’s
                                           23 agreement to the Amazon COUs over the course of hundreds of purchases is
                                           24 already a sufficient basis for compelling arbitration. As this Court noted in McKee,
                                           25 there is no support for the contention that “repeated purchases that require agreeing
                                           26 to hyperlinked Conditions of Use do not constitute assent to those terms as written
                                           27 at the time of purchase.” McKee, 2017 WL 4685039, at *11 n.7.
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                                            1         In short, Mr. Weber’s opposition fails to create any genuine issue of material
                                            2 fact as to Mr. Weber’s assent to the arbitration agreement, and Mr. Weber raises no
                                            3 argument that this dispute falls outside the scope on that agreement. Accordingly,
                                            4 the Court should grant Amazon’s motion, compel Mr. Weber’s claims against
                                            5 Amazon to arbitration, and dismiss this lawsuit as to Mr. Weber’s claims.
                                            6 II.     ARGUMENT
                                            7         A.    Washington Law Governs Plaintiff’s Agreements and This Case.
                                            8         Plaintiff maintains that California state law governs this lawsuit. See Dkt. 30
                                            9 (“Opp.”) at 7–8. But this Court in the related McKee case has already twice held
                                           10 that Washington law governs. McKee, 2017 WL 4685039, at *4; McKee v.
                                           11 Audible, Inc., No. 2:17-cv-1941, Dkt. 53 (“Beals Order”) at 3-4; see also Wiseley v.
                                           12 Amazon.com, Inc., 709 F. App’x 862, 863 (9th Cir. 2017) (applying Washington
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                                           13 law in motion to compel arbitration concerning Amazon COUs). Like the plaintiffs
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                                           14 in the related McKee case, Mr. Weber insists that California law applies but fails to
                                           15 offer any reason for this Court to depart from its prior decisions. Indeed, he admits
                                           16 that California law and Washington law “should lead the Court to the same
                                           17 conclusion.” Opp. at 8. Accordingly, and consistent with its prior rulings on
                                           18 motions to compel arbitration in related cases, the Court should apply Washington
                                           19 law.
                                           20         B.    Plaintiff Fails To Create Any Genuine Dispute Regarding His
                                           21               Repeated Agreement to Arbitrate All Disputes Relating to His Use
                                           22               of Amazon.
                                           23         The facts regarding Mr. Weber’s agreement to arbitrate all claims related to
                                           24 his use of Amazon are simple. Since 2011, Amazon’s COUs have consistently
                                           25 contained an arbitration agreement with a class action waiver provision. Dkt. 28-1
                                           26 (“Ressmeyer Decl.”) at ¶ 3, Ex. 1 at 2-3, Ex. 2 at 4. Customers receive notice of,
                                           27 and must agree to, these COUs whenever they place orders through Amazon’s
                                           28   REPLY ISO AMAZON’S MOT. TO
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                                            1 standard check-out flows, whether on the Amazon desktop or mobile websites or
                                            2 through the Amazon mobile app. Id. at ¶ 8, Ex. 9. Between the time that Amazon
                                            3 first adopted its arbitration provision and the filing of his complaint in this action,
                                            4 Mr. Weber placed hundreds of orders on Amazon and thus has repeatedly agreed to
                                            5 the COUs and arbitration provision. Id. at ¶ 9, Exs. 10-11; see also McKee, 2017
                                            6 WL 4685039, at *11 n.7 (repeated purchases through Amazon create assent to
                                            7 COUs); cf. Fagerstrom v. Amazon.com, Inc., 141 F. Supp. 3d 1051, 1057-58 (S.D.
                                            8 Cal. 2015) (Amazon check-out flow requires customers to assent to COUs). Mr.
                                            9 Weber also separately agreed to Amazon’s Prime Terms, which incorporate the
                                           10 COUs and arbitration provision, when he signed up for Amazon Prime on October
                                           11 26, 2017. Ressmeyer Decl. at ¶¶ 5-6, Exs. 5-7; see also McKee, 2017 WL 4685039,
                                           12 at *11 n.7 (Prime sign-up created assent to COUs); Ekin v. Amazon Servs., LLC, 84
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                                           13 F. Supp. 3d 1172, 1178 (W.D. Wash. 2014) (Prime sign-up flow requires customers
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                                           14 to assent to Prime terms and arbitration agreement).
                                           15         In his opposition, Mr. Weber raises a series of misguided arguments to
                                           16 distract from the clear evidence of his assent. First, after having confirmed that
                                           17 Amazon located the correct account history, Mr. Weber attempts to cast doubt
                                           18 about the accuracy of Amazon’s records by pointing to a “Customer Since 2011”
                                           19 banner that appears on the homepage for one of his Amazon accounts. See Opp. at
                                           20 3-4. Second, Mr. Weber tries to sidestep the evidence of the hundreds of purchases
                                           21 he placed through Amazon, which Mr. Weber does not dispute, by focusing instead
                                           22 on the claim that he does not recall signing up for Amazon Prime in October 2017.
                                           23 Opp. at 19-23. Third, Mr. Weber devotes the lion’s share of his opposition arguing
                                           24 that this Court, under Douglas v. United States District Ct. for the Cent. Dist. of
                                           25 Cal., 495 F.3d 1062 (9th Cir. 2007), should disregard any of the agreements with
                                           26 Amazon he entered into after August 19, 2011, see Opp. at 9-18, ignoring the
                                           27 Court’s explicit rejection of this precise argument in the related McKee action. See
                                           28   REPLY ISO AMAZON’S MOT. TO
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                                            1 McKee, 2017 WL 4685039, at *11 n.7. Fourth, Mr. Weber’s opposition tries to
                                            2 introduce declaration evidence from his counsel to show how customers could
                                            3 theoretically manipulate the display of the Amazon website to deliberately avoid
                                            4 notice of Amazon’s COUs, without any statement from Mr. Weber that he did so.
                                            5 As explained in the sections that follow, all these arguments fail.
                                            6                1.    There Is No Inconsistency in Amazon’s Evidence Regarding
                                            7                      Mr. Weber’s Account History.
                                            8         Without disputing any of the underlying transactions that Amazon identified
                                            9 in its opening briefing, Mr. Weber attempts to manufacture doubt about the
                                           10 accuracy of the evidence that Amazon submitted about his customer history. Opp.
                                           11 at 3-4. There is no inconsistency here.
                                           12         As Amazon explained in its opening briefing, Amazon allows customers to
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                                           13 associate the same email address with multiple customer accounts. Ressmeyer
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                                           14 Decl. at ¶ 4, Exs. 3-4. According to Amazon’s records, Mr. Weber’s email address
                                           15 is associated with two separate Amazon accounts: one designated as a merchant
                                           16 account, and a second designated as a non-merchant account. Id. Each account has
                                           17 its own home page and is associated with its own password. Declaration of Cami
                                           18 Smith in Support of Reply Brief on Amazon’s Motion to Compel Arbitration
                                           19 (“Smith Decl.”), filed concurrently herewith, at ¶ 3. If Mr. Weber logs in with the
                                           20 password for his merchant account, the home page will reflect customer
                                           21 information from his merchant account; if he logs in with the non-merchant
                                           22 password, it will show information for the non-merchant account. Id. Despite Mr.
                                           23 Weber’s apparent confusion over his merchant status, his merchant account showed
                                           24 activity up to the time he filed his complaint in this action, whereas his non-
                                           25 merchant account had no activity since July 14, 2013. Id.
                                           26         Mr. Weber attempts to dispute the accuracy of Amazon’s record-keeping by
                                           27 submitting a printout of the homepage for the Amazon account designated as a
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                                            1 merchant account, which states that he has been a “Customer Since 2011.” See
                                            2 Dkt. 30-1 (“Weber Decl.”) at ¶ 2, Ex. 1; Smith Decl. at ¶ 4. There is no
                                            3 discrepancy between this home page and the data Amazon submitted in support of
                                            4 its opening papers, as the data that appears in the stripe on the home page reflects
                                            5 the date of the first transaction on a customer account, and not the date of customer
                                            6 sign-up. Smith Decl. at ¶ 4. While Amazon’s records show that Mr. Weber signed
                                            7 up for a merchant account on December 27, 2004, the records that Amazon
                                            8 submitted in connection with its opening brief also show that he did not place his
                                            9 first recorded order on that account until February 3, 2011. See Ressmeyer Decl.,
                                           10 Ex. 10; Smith Decl. at ¶ 4. Thus, these records are entirely consistent both with the
                                           11 statement on the home page for Mr. Weber’s merchant account that he has been a
                                           12 “Customer Since 2011” and with Mr. Weber’s declaration statement that he “started
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                                           13 using [his] Amazon account to make purchases in or around February 2011.” Cf.
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                                           14 Weber Decl. at ¶ 2. (Meanwhile, the first transaction on the account designated as a
                                           15 non-merchant account occurred on March 15, 2010. Ressmeyer Decl., Ex. 11.)
                                           16         As Amazon demonstrated in its opening papers, Mr. Weber placed no fewer
                                           17 than 266 purchase orders for 413 items between the time Amazon adopted an
                                           18 arbitration agreement in its COUs and the filing of this lawsuit through his Amazon
                                           19 merchant account alone. Ressmeyer Decl. at ¶ 9, Ex. 10. Yet, while he tries to
                                           20 undermine the accuracy of Amazon’s records by referring to the “Customer Since
                                           21 2011” stripe on his home page, Mr. Weber tellingly does not dispute any of the
                                           22 actual details that Amazon has presented about these transactions, such as the dates
                                           23 they occurred, the order numbers, or the overall volume. Nor can he, as there is no
                                           24 genuine discrepancy concerning Mr. Weber’s account history.
                                           25 //
                                           26 //
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                                             1                2.    Mr. Weber Does Not Raise a Genuine Dispute About
                                             2                      Amazon’s Evidence of His October 26, 2017 Prime Sign-Up,
                                             3                      And His Purchases Through Amazon Are Already a
                                             4                      Sufficient Basis to Find Assent and Compel Arbitration.
                                             5         Mr. Weber attempts to controvert Amazon’s showing that he signed up for
                                             6 Prime on October 26, 2017, but he fails to raise any genuine dispute regarding
                                             7 Amazon’s evidence. Mr. Weber admits that he was charged on October 26, 2017
                                             8 for an Amazon Prime membership. Weber Decl. at ¶ 5. Rather than deny the sign-
                                             9 up occurred, he argues merely that he “did not intentionally sign up for a new
                                            10 Amazon Prime membership” and invents several reasons why he would not have
                                            11 seen disclosures of the Prime Terms even if he were presented with them. Id.
                                            12 (emphasis added); see also Opp. at 5. In short, Mr. Weber “offers no evidence to
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                                            13 rebut [Ms. Ressmeyer’s] reasoned declaration other than his own conclusory
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                                            14 allegations that he never received notice of the terms and conditions and that [the]
                                            15 declaration is false and inadequate.” Cordas v. Uber Techs., Inc., 228 F. Supp. 3d
                                            16 985, 989–90 (N.D. Cal. 2017) (rejecting plaintiff’s attempt to raise purported
                                            17 deficiencies with Uber’s sign-up disclosures based on font, screen size, etc. and
                                            18 granting motion to compel arbitration, where plaintiff failed to offer any testimony
                                            19 or evidence regarding what disclosures he did see). Thus, like the plaintiff in
                                            20 Cordas, Mr. Weber’s contentions do not raise any genuine dispute of material fact
                                            21 over his Amazon Prime sign-up.
                                            22         In all events, Amazon need not (as Mr. Weber’s opposition appears to
                                            23 suggest) rely on Mr. Weber’s October 26, 2017 Prime sign-up to order this dispute
                                            24 into arbitration. Mr. Weber’s hundreds of purchase orders on Amazon on their own
                                            25 are already a sufficient basis for compelling arbitration of his claims and this
                                            26 lawsuit.
                                            27
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                                             1               3.     This Court Has Already Rejected Plaintiff’s Arguments
                                             2                      Based on Douglas in the Related McKee Action.
                                             3         Mr. Weber devotes the bulk of his opposition to the argument that any
                                             4 agreement between Mr. Weber and Amazon after August 2011 is ineffective,
                                             5 because Amazon did not send a notice about modifying the COUs to add an
                                             6 arbitration agreement. See Opp. at 9-18. In doing so, he asks this Court to
                                             7 disregard six years of agreements over the course of hundreds of purchase orders
                                             8 that he placed through Amazon.
                                             9         There is no legal or logical support for such a position. Indeed, when counsel
                                            10 advanced this same argument with respect to Plaintiff Grant McKee’s purchase
                                            11 history in the related McKee action, this Court rejected it. The Court expressly
                                            12 rejected the reading of Douglas that Mr. Weber now advances, noting that “no
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                                            13 district court has applied Douglas to hold that repeated purchases that require
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                                            14 agreeing to hyperlinked Conditions of Use do not constitute assent to those terms as
                                            15 written at the time of purchase.” McKee, 2017 WL 4685039, at *11 n.7. Moreover,
                                            16 the Court found that the Amazon COUs adequately placed customers on notice that
                                            17 COUs “changed over time” and directed them to carefully review those terms, 1 and
                                            18 it ultimately compelled Plaintiff McKee’s claims against Amazon to arbitration. Id.
                                            19 The result should be no different here: Mr. Weber, like Mr. McKee, placed
                                            20 hundreds of purchase orders through Amazon, and in doing so repeatedly agreed to
                                            21 the same COUs and arbitration agreement as Mr. McKee did.
                                            22
                                            23   1
                                                   While Mr. Weber appears to challenge the propriety of the modifications
                                            24   provision of the Amazon COUs, he does not appear to challenge the enforceability
                                                 of the COUs and arbitration based on unconscionability, as the plaintiffs in the
                                            25   related McKee action have. Several courts, including this one, have repeatedly
                                                 considered the Amazon arbitration agreement and found it valid and enforceable.
                                            26   McKee, 2017 WL 4685039, at *12-14; accord Ekin, v. Amazon Servs., LLC, 84 F.
                                                 Supp. 3d 1172 (W.D. Wash. 2014); Fagerstrom, 141 F. Supp. 3d at 1064, aff’d sub
                                            27   nom. Wiseley v. Amazon.com, Inc., 709 F. App’x 862 (9th Cir. 2017); Peters v.
                                                 Amazon Servs. LLC, 2 F. Supp. 3d 1165, 1170 (W.D. Wash. 2013), aff’d, 669 F.
                                            28   App’x 487 (9th Cir. 2016).
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                                             1                4.    Mr. Weber Fails to Create a Genuine Factual Dispute Over
                                             2                      the Sufficiency of Amazon’s Check-Out Flow.
                                             3         Mr. Weber also attempts to create uncertainty regarding the sufficiency of
                                             4 Amazon’s disclosures by introducing evidence concerning purported deficiencies in
                                             5 Amazon’s mobile and desktop check-out disclosures through his counsel. See Dkt.
                                             6 30-3 (“Soderstrom Decl.”) at ¶ 4, Exs. 2-3, and Opp. at 23-24. This evidence is
                                             7 misleading, and Mr. Weber does not claim that he placed any purchase orders by
                                             8 these means. See generally Weber Decl.
                                             9         This Court should reject Mr. Weber’s gambit. As this Court has previously
                                            10 noted in the related action, constructive notice of arbitration terms “is generally
                                            11 clear where the user is actually required to, and does click a button explicitly
                                            12 agreeing to the terms of the contract, even if the user does not actually read the
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                                            13 terms of services.” McKee, 2017 WL 4685039, at *6; Beals Order at 8. Mr.
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                                            14 Weber’s opposition fails to create any genuine dispute as to whether Amazon
                                            15 provided Mr. Weber with reasonable notice of the COUs.
                                            16         First, with respect to Amazon’s mobile check-out flow, Plaintiff’s counsel
                                            17 offers screenshots from Amazon’s mobile app and website that purport to show a
                                            18 “Place your order” button without a disclosure next to it. Soderstrom Decl. at ¶ 4,
                                            19 Ex. 2. These screenshots are misleading: they show only the bottom portion of the
                                            20 mobile check-out page, and they omit the clear disclosures that a customer sees at
                                            21 the top of the page every time he makes a purchase through the standard check-out
                                            22 flow both on the Amazon mobile website and the Amazon mobile app. Declaration
                                            23 of Karen Ressmeyer in Support of Reply Brief on Motion to Compel Arbitration, at
                                            24 ¶ 2, Ex. A. At the top of the check-out screen for both the Amazon mobile website
                                            25 and the Amazon mobile app is a hyperlinked disclosure that reads: “By placing
                                            26 your order, you agree to Amazon.com’s privacy notice and conditions of use.”
                                            27 Ressmeyer Decl. at ¶ 8, Ex. 9. This disclosure appears immediately above a button
                                            28    REPLY ISO AMAZON’S MOT. TO
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                                             1 stating “Place your order,” and the language “conditions of use” in these disclosures
                                             2 is a blue highlighted hyperlink to the Amazon Conditions of Use. Id.
                                             3         Whenever Mr. Weber used the mobile check-out flow, he necessarily would
                                             4 be shown this disclosure at the top of the page, immediately above the “Place your
                                             5 order” button. In his declaration, Mr. Weber admits that he “make[s] many, but not
                                             6 all, of [his] purchases on Amazon.com using [his] smartphone” usually by “clicking
                                             7 a ‘Place your order’ or similar button . . . .” Weber Decl. at ¶ 4. Any one of the
                                             8 purchase orders Mr. Weber placed through the mobile check-out flow would itself
                                             9 furnish a sufficient basis for compelling this lawsuit to arbitration, and nowhere
                                            10 does Mr. Weber allege that he scrolled past the disclosure at the top of the mobile
                                            11 check-out screen to click a “Place Your Order” button to complete a purchase.
                                            12         Second, there is no question that Mr. Weber also made purchases through the
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                                            13 desktop checkout page, which courts have repeatedly found create assent to
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                                            14 Amazon’s COUs. In his declaration, Mr. Weber admits that he makes “many, but
                                            15 not all, of [his] purchases on Amazon.com using [his] smartphone.” Weber Decl.
                                            16 ¶ 4. Because “not all” of his purchases were on his smart phone, the others were on
                                            17 the desktop checkout page.
                                            18         Facing this fact, counsel for Mr. Weber attempts to manufacture doubt by
                                            19 introducing desktop check-out pages from Nicosia v. Amazon.com, Inc., 834 F.3d
                                            20 220 (2d Cir. 2016), where the court denied Amazon’s Rule 12(b)(6) motion to
                                            21 dismiss. See Soderstrom Decl. at ¶ 4, Ex. 3. But Nicosia is not binding law in this
                                            22 circuit, arose in a significantly different legal posture, and has no applicability to
                                            23 this case. 2 Indeed, the Southern District of California in Fagerstrom granted
                                            24   2
                                                   In Nicosia, the Second Circuit considered a motion to dismiss under Rule
                                            25   12(b)(6), not a motion to compel arbitration. 834 F.3d at 230. By the decision’s
                                                 own terms, the usual standard did not apply because the “motion to dismiss neither
                                            26   sought an order compelling arbitration nor indicated that Amazon would seek to
                                                 force Nicosia to arbitrate in the future.” Id. Accordingly, the court applied the
                                            27   plausibility standard under Rule 12(b)(6) instead. Id. But the panel also clarified
                                                 that it did “not hold that there was no objective manifestation of mutual assent
                                            28   [t]here as a matter of law.” Id. The Second Circuit further limited the potential
                                                  REPLY ISO AMAZON’S MOT. TO
                                                  COMPEL ARBITRATION AND
                                                  DISMISS                                     9     Case No. 2:17-cv-8868 GW(Ex)
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                                             1 Amazon’s motion to compel arbitration based on exactly the same desktop check-
                                             2 out screen that the Second Circuit reviewed in Nicosia. Compare Soderstrom
                                             3 Decl., Ex. 3, with Fagerstrom, 141 F. Supp. 3d at 1069 (describing Weitmann
                                             4 Decl., Ex. C), and Declaration of Jedediah Wakefield in Support of Reply Brief on
                                             5 Amazon’s Motion to Compel Arbitration, Ex. A (attaching Weitmann Decl., Ex.
                                             6 C). The Ninth Circuit recently affirmed the district court’s grant of the motion to
                                             7 compel arbitration in Fagerstrom, based on the very disclosures that Mr. Weber
                                             8 now attempts to use to undermine Amazon’s claim: “The notices on Amazon’s
                                             9 check-out and account registration pages, which alerted Wiseley that clicking the
                                            10 corresponding action button constituted agreement to the hyperlinked COU, were in
                                            11 sufficient proximity to give him a ‘reasonable opportunity to understand’ that he
                                            12 would be bound by additional terms.” Wiseley, 709 F. App’x at 864 (affirming the
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                                            13 Fagerstrom court’s ruling); see also Ekin, 84 F. Supp. 3d at 1173 (same with Prime
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                                            14 sign-up).
                                            15         Notwithstanding Mr. Weber’s hand-waving, the facts, even as to these older
                                            16 desktop checkout screens, are simple. These screens contain a hyperlinked
                                            17 disclosure at the top of the page that reads “By placing your order, you agree to
                                            18 Amazon.com’s privacy notice and conditions of use.” See Soderstrom Decl., Ex. 3.
                                            19 This disclosure is immediately under the “Review your order” heading and near the
                                            20 “Place your order” button to make a purchase. Id. As the Ninth Circuit has
                                            21 concluded, this creates notice and assent.
                                            22         The fact that Amazon’s desktop check-out flow years ago had a slightly
                                            23 different but nevertheless enforceable layout does not create any genuine issue of
                                            24 reach of Nicosia in Meyer v. Uber Techs., Inc., 868 F.3d 66 (2d Cir. 2017),
                                            25 applying  the usual Rule 56 summary judgment standard to evaluate a motion to
                                               compel arbitration based on a user sign-up through the Uber mobile app. Id. at 74.
                                            26 The  Meyer court noted that “[a]s long as the hyperlinked text was itself reasonably
                                               conspicuous—and we conclude that it was—a reasonably prudent smartphone user
                                               would have constructive notice of the terms.” Id. at 79. Notably, although Amazon
                                            27 raised the Meyer case in its opening brief, see Motion at 7-8, Mr. Weber failed even
                                               to address
                                            28 REPLY ISO  it in his opposition.
                                                               AMAZON’S MOT. TO
                                                COMPEL ARBITRATION AND
                                                DISMISS                                   10      Case No. 2:17-cv-8868 GW(Ex)
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                                             1 fact concerning Mr. Weber’s assent. Whether under the desktop check-out flows
                                             2 approved in Fagerstrom and Wiseley, or under the more recent layout included the
                                             3 same disclosure language immediately underneath the “Place your order” button,
                                             4 Mr. Weber had reasonable notice of Amazon’s COUs and agreed to them when
                                             5 placing orders through the desktop website.
                                             6         Mr. Weber attempts to distinguish Fagerstrom and Ekin, arguing that the
                                             7 issues of contract formation were not at issue in those cases. See Opp. at 17-18.
                                             8 But this misses the fundamental point: assent was not at issue, because the question
                                             9 of reasonable notice was so obvious. As Amazon’s motion points out, at all times
                                            10 its check-out disclosures have been similar to those that courts have uniformly
                                            11 approved in granting motions to compel arbitration. Cf. Meyer, 868 F.3d at *77
                                            12 (“Register” button above notice stating that, “by creating an Uber account,” users
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                                            13 agreed to terms of service); Selden v. Airbnb, Inc., No. 16-CV-00933 (CRC), 2016
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                                            14 WL 6476934, at *5 (D.D.C. Nov. 1, 2016) (hyperlinked disclosure stating “By
                                            15 signing up, I agree to Airbnb’s Terms of Service” in close proximity to the sign-up
                                            16 buttons).
                                            17         Mr. Weber placed hundreds of orders on Amazon, usually—and by his own
                                            18 admission—by clicking a “Place Your Order” button that the evidence shows was
                                            19 accompanied by hyperlinked disclosures that by doing so, he was agreeing to
                                            20 Amazon’s COUs. He cannot now avoid those agreements simply by claiming not
                                            21 to remember them.
                                            22         C.    Plaintiff’s Agreement to Arbitrate Bars This Lawsuit.
                                            23         Mr. Weber’s opposition does not appear to dispute that the arbitration
                                            24 agreement in the Amazon COUs cover this dispute. Nor can he. That arbitration
                                            25 agreement covers “[a]ny dispute or claim relating in any way to your use of any
                                            26 Amazon Service, or to any products or services sold or distributed by Amazon
                                            27 or through Amazon.com . . . .” Ressmeyer Decl. at ¶ 3, Ex. 2 at 4 (bold in
                                            28   REPLY ISO AMAZON’S MOT. TO
                                                 COMPEL ARBITRATION AND
                                                 DISMISS                                  11      Case No. 2:17-cv-8868 GW(Ex)
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                                             1 original). This “broad and far reaching” language of the arbitration clause “leaves
                                             2 little doubt that the dispute [here] is subject to arbitration.” Chiron Corp. v. Ortho
                                             3 Diagnostic Sys., Inc., 207 F.3d 1126, 1131 (9th Cir. 2000) (ordering arbitration as
                                             4 breadth of arbitration agreement and federal policy favoring arbitration embodied in
                                             5 the Federal Arbitration Act “leaves no place for the exercise of discretion by a
                                             6 district court”) (internal quotations and citations omitted); see also In re Verisign,
                                             7 Inc., Derivative Litig., 531 F. Supp. 2d 1173, 1224 (N.D. Cal. 2007) (holding that
                                             8 arbitration agreement that covered “any other services provided by . . . KPMG,”
                                             9 and disputes and claims involving “any entity for whose benefit the services in
                                            10 question are or were provided” had broad scope and retroactive effect). Indeed,
                                            11 courts examining the substantially identical arbitration agreement have found that
                                            12 its use of “any dispute” language gave the agreement broad scope: “[W]hen
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                                            13 arbitration agreements contain broad ‘relating to any dispute’ language, both future
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                                            14 and past disputes are included in the scope of the arbitration agreement.” Ekin, 84
                                            15 F. Supp. 3d at 1178 (emphasis added) (arbitration agreement in Amazon COUs had
                                            16 retroactive effect); see also Peters, 2 F. Supp. 3d at 1173 (same with business
                                            17 services agreement).
                                            18         Mr. Weber’s claim relates to allegedly unauthorized charges to a credit card
                                            19 he placed on his Amazon account, and therefore falls squarely within the scope of
                                            20 his arbitration agreement with Amazon. See Dkt. 1 at ¶¶ 14-17. More specifically,
                                            21 Mr. Weber’s primary grievance relates to the claim that he received a charge on a
                                            22 credit card that he provided in the first instance to Amazon, after using his Amazon
                                            23 account to sign up for Audible, an Amazon subsidiary. Id. Mr. Weber’s claims
                                            24 relate to his use of the Amazon Service. Thus, Mr. Weber’s claims fall squarely
                                            25 within the scope of his arbitration agreement with Amazon, and this Court should
                                            26 compel arbitration as to Mr. Weber.
                                            27 //
                                            28   REPLY ISO AMAZON’S MOT. TO
                                                 COMPEL ARBITRATION AND
                                                 DISMISS                                   12       Case No. 2:17-cv-8868 GW(Ex)
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                                             1 III.    CONCLUSION
                                             2         Mr. Weber’s opposition fails to raise any material dispute about Mr. Weber’s
                                             3 repeated assent to arbitrate their respective claims in this lawsuit. He repeatedly
                                             4 agreed to arbitrate any dispute relating to his use of Amazon by placing hundreds of
                                             5 purchase orders through Amazon and by signing up to Amazon Prime. Those
                                             6 agreements bar this lawsuit, and the Court should compel arbitration. Accordingly,
                                             7 Amazon asks this Court to compel these claims to arbitration and dismiss them with
                                             8 prejudice.
                                             9 Dated: March 22, 2018                   FENWICK & WEST LLP
                                            10                                         By: /s/ Jedediah Wakefield
                                                                                          Jedediah Wakefield
                                            11
                                                                                       Attorneys for Defendants AMAZON, INC.
                                            12                                         and AMAZON SERVICES, LLC
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                                            28   REPLY ISO AMAZON’S MOT. TO
                                                 COMPEL ARBITRATION AND
                                                 DISMISS                                   13      Case No. 2:17-cv-8868 GW(Ex)
